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   EXHIBIT “A”
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           The industry
          #MeToo forgot
   One of Globe Life's top insurance agencies is a toxic cesspool of
      sexual abuse, hard drugs, and violence, a lawsuit alleges




Matt Rota for Insider
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                                   Susan Antilla
                                Feb 24, 2023, 6:00 AM



Drinks in hand, shirtless insurance agents cluster around the 5,000-square-
foot Neptune Pool at glitzy Caesars Palace.

Prominent among them, sporting a blanket of tattoos on his bare sculpted
chest is Simon Arias III, an agency owner and life-insurance sales machine.
He makes the rounds among his subordinates. He puffs on a cigar with one
group. He cradles a pineapple cocktail with another.

It's May, and they've all come to Las Vegas for the year's biggest sales
convention. Inside the conference center, a corporate videographer captures
showgirls in glittery headpieces and a king-size poster of Arias — this time,
in a tailored suit — standing among a gallery of top performers who will be
honored at a gala that night.
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Arias Agency's official video of American Income Life's Las Vegas convention in May 2022 captures
the agency's hypermasculine culture; Simon Arias is shirtless at center. YouTube


Just weeks earlier, a former agent filed an explosive lawsuit against Arias
and other parties, alleging a pattern of unchecked sexual assault and
harassment at his agency. The claims about one of Arias' top lieutenants are
graphic — scenes of him masturbating in front of a female direct report; an
image he sent her of his own erection. But there is no sign of tension
poolside. Young agents with freshly poured margaritas are focused on
gratitude.

"Thank God for AIL and Globe Life," one says to the camera.
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The lawsuit describes a culture of abuse at a workplace that operated
without guardrails. Agents at Arias, like those at many life insurance
agencies, are treated as independent contractors, not employees.
Contractors aren't covered by federal laws protecting employees from
discrimination and harassment, and they fall outside state laws that require
sexual harassment training for employees. It's a structure that may have
helped Arias, and the industry as a whole, escape the wave of accountability
sparked by #MeToo.

American Income Life, the convention sponsor, is a subsidiary of Globe Life
Inc., a New York Stock Exchange-traded insurance company that markets
life, accident, and supplemental health insurance. In the sports world,
Globe is known for naming rights to the Texas Rangers' Globe Life Field. In
the business world, it is among the celebrity stocks in the portfolio of
Warren Buffett's Berkshire Hathaway, which holds 6.35 million shares of
the McKinney, Texas-based company.

Globe Life sits at the top of a corporate pyramid, a holding company with
five wholly owned insurance subsidiaries. AIL is by far the largest, whether
measured by premiums collected or by the number of sales agents peddling
Globe's wares around the country. AIL, in turn, relies on a web of affiliated
life insurance agencies that exclusively sell AIL policies to consumers.
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Agent Tristan Dlabik posts a photo from the 2022 Las Vegas convention where he and and agency head
Simon Arias were held up as star performers by American Income Life. Instagram
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While the corporate entities package the policies, the hard-driving agents
are the jet fuel that powers AIL and Globe Life. Top agents are so critical to
revenue that they are rewarded generously with commissions, bonuses, and
stays at posh hotels in Cancún and the Bahamas. Only the most successful
agents at the most successful agencies were invited by AIL to hang out
poolside with company brass at the Las Vegas convention.

Among them, Arias Agencies. At 39, Arias has a profile like no other. His
firm ranks among the most profitable agencies in the AIL system and
achieves its success in an intense masculine culture that often steamrolls
agents and customers alike.

Much of the lawsuit filed last April was forced into arbitration, but Insider
obtained private arbitration documents, exclusive interviews with the
plaintiff, and copies of inflammatory Snapchat messages.

In interviews with Insider, the plaintiff and 14 other former agents
described Arias Agencies as a cesspool of sexual harassment, violence, and
drug abuse — particularly at the headquarters in Pennsylvania.

They also alleged customer abuses and fraud. If a cigarette-smoking
customer balked at a high life insurance premium, agents were known to
run down a nonsmoking colleague to do the mandatory mouth swab,
locking in a lower rate, several agents said. Sometimes, agents said, they
would push products on people in financial straits, open accounts in the
names of dead people, and put through charges without customers'
approval, the latter a theme that also surfaced in AIL customer complaints.
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Several former female agents found the aggressive, masculine culture
unnerving, especially given what they described as the open use of cocaine,
steroids, male enhancement drugs, and other controlled substances — a
culture that is also detailed in the complaint.

One former agent told Insider she was worried she'd made a big mistake
early on, when her boss commented about her large breasts in front of
colleagues, calling her "Jugs." Another woman who worked there told
Insider she was compared to dog puke. Senior managers called men in the
office "studs" and "stallions," according to the lawsuit; women were called
"sluts," "bitches," and "whores."

The agent who filed the lawsuit, Renee Zinsky, said her manager Michael
Russin would talk about his erections during company meetings; once, she
said, she was driving colleagues back from a business meeting in November
2019 when he began to have sex with a female subordinate in the backseat.
The incidents are recounted in her federal complaint; in his response,
Russin denied both allegations.
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Renee Zinsky began as a sales agent at Arias in March 2019. Three years later, she filed suit. Nancy
Andrews for Insider


A fourth female agent, this one based at an office in another state, said there
was so much open cocaine use at a May 2019 convention that she moved out
of the company-paid room she shared with another agent. "I thought
everyone was going to jail," she said.
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A month before she left for that convention, she told Insider, two of her
bosses gave her a heads-up that men in the office would try to sleep with her
on work trips; one told her to "keep your chastity belt on." She said she
wound up being sexually assaulted in the hotel pool.

She immediately reported the incident to her managers, she later claimed in
a complaint to the Equal Opportunity Employment Commission, but no
investigation ensued.

Top managers at AIL were aware of allegations of drug abuse and
inappropriate sexual conduct as far back as 2015, when a claim of
misbehavior by two top managers at Arias was escalated to AIL senior
management, according to two sources who were at Arias at the time.

Insider sent seven pages of questions to Arias and his attorney Jean E.
Novak, who is representing Arias and his agency in the sexual harassment
and sexual assault lawsuit filed in April, which is now in arbitration. Novak
responded by email, "We do not comment on pending litigation and
arbitration matters."

Rob Jackson, a former agent at Arias headquarters who is now a regional
director of a Chicago agency partly owned by Simon Arias, was the only
manager who spoke with Insider on the record. He said agents who "do
something against moral grounds" would immediately be fired and said
Arias Agencies' ranks were filled with people who "all go to church together"
and gave back to the community.

The Arias way
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To find Arias headquarters, you turn off Perry Highway in the Pittsburgh
suburb of Wexford, onto a short cul-de-sac. You'll know the parking lot
when you spot the late model BMWs, Audis, Maseratis — even a bright
orange Mercedes C-43 — sprinkled among the more modest cars of the
junior agents. After you walk past the group of young men in T-shirts and
jeans gathered outside for cigarettes, you enter a waiting room with
streaming rap music and a collection of awards the agency has received on
display. Upstairs is what one former agent called "a young kid's playpen"
with a pingpong table, cornhole boards, and gaming systems, used to lure
20-year-old recruits.
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Arias headquarters, tucked away in a nondescript cul-de-sac in Wexford, Pennsylvania, tolerated a
culture of sexual abuse, a lawsuit alleges. Nancy Andrews for Insider


Arias, the agency's owner, is a mixed-martial-arts fanatic who commands a
cult-like devotion from his sales force. At weekly meetings, a senior agent
announces his arrival as if he's a late-night talk-show host as loud rap music
fills the room. Agents jump to their feet, clapping and cheering. "Every
person in there goes apeshit crazy for him," a former agent said
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Simon Arias, left, works out with Mike Russin, one of his top lieutenants, right, in the on-site wrestling
room at Arias headquarters in September 2020. Facebook


Many mornings, you can find Arias on the second floor, working out in the
on-site wrestling room, its black floor emblazoned with the agency logo.
During a video chat with AIL CEO Steve Greer in December, Arias praised
his boss for picking up mixed martial arts in his late 40s. "Get you a CEO
like that, man," he said of Greer. "Super cool."
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Arias commands the top spot in AIL's agency structure, a state general
agent who oversees subordinates with titles such as regional general agent,
master general agent, general agent, supervising agent, and, at the lowest
level, agent. He also sits on AIL's executive council and coaches other AIL
sales leaders.

For years, Globe and AIL have treated Arias as a golden boy, honoring him
at black-tie soirees such as his 2019 coronation as AIL's State General Agent
of the Year. Greer introduced him on a Las Vegas stage that night, rallying
the crowd with a call to "show some love" for Simon Arias.

You've been an inspiration to me and everybody in the home office.

In late 2020, Globe's then co-CEO Larry Hutchison traveled to Wexford to
celebrate the agency's biggest month ever, saying to Arias, "You've been an
inspiration to me and everybody in the home office."

Arias opened his first office in 2008 while in his 20s and today has offices in
21 locations stretching from Dallas to Portland, Maine. He trumpets his
success with a heavy dose of conspicuous consumption, some days pulling
into his private parking space in a Rolls-Royce, other days in a Maserati. His
home, just 8 miles from the office, is a 5,000-square-foot, million-dollar
English Tudor set on a 1-acre lot.

The Arias Agency is the life-insurance industry's answer to the infamous
boiler room depicted in "The Wolf of Wall Street," a 12-hour-a-day grind of
dialing for dollars where the rules don't always apply. Some Arias agents are
so captivated by the movie that they slap #wolfofwallstreet hashtags on
social-media posts. Arias state general manager Tristan Dlabik once posted
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a photo of himself on Instagram, muscles bulging in mid-pushup, with a
giant poster of the movie's felonious lead character, played by Leonardo
DiCaprio, in the background.




American Income Life's official video from its 2019 convention shows Simon Arias onstage with his
wife Natalie being celebrated by AIL executives Steve Greer, CEO, far left, and David Zophin,
president, far right. YouTube


The agency targets malleable young people in their teens and 20s, recruiting
at colleges, strip clubs, even the car wash down the street, according to
former agents. Sometimes they'd head to Pittsburgh nightclubs, where team
leaders would commandeer a VIP table, order bottle service, and wait for
the inevitable curiosity seekers. Then the agents gave their pitch: Anybody
can do the smiling and dialing necessary to be a life-insurance sales beast.
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Spencer Kozej, the agency's 2021 Rookie of the Year, tells Arias during
an interview posted on YouTube that his high school grade point average
was 1.8. But the 22-year-old, Arias boasts, makes $250,000 a year.

In interviews with Insider, former agents at Arias described misbehavior
ranging from the sophomoric to the dangerous. One man who hadn't met
his targets had to let a colleague wax his legs. Two others who fell short
were teamed up for punishment in April 2019: One was told to stretch out
on a desk while the other was ordered to drip a smoothie into his belly
button and slurp it out. That fall, in the Columbia, Maryland, office, a group
of agents who'd missed their sales goals had to put on diapers and eat baby
food out of a trough. "They looked humiliated," said a former agent who
witnessed the bizarre scene. "These were grown-ass adults."
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For Tristan Dlabik and other Arias agents, "The Wolf of Wall Street" served as a cultural
touchstone. Instagram
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More troubling are the allegations of sexual harassment. One former agent
who started in 2021, the one whose boss called her "Jugs," said her manager
told her in front of colleagues, "You need to put your tits away because
they're so distracting." Another told Insider that when she entered her
boss's office in 2017, he would often greet her with an invitation to "come
suck my dick." It was "an everyday thing you kind of ignored," she said.

A male manager who worked in the Wexford office said sexual misconduct
was just a part of the culture: "It wasn't anything you'd bat an eye at."

Occasionally, there were open outbursts of violence in the Arias workplace,
some of it promulgated by a coterie of bodybuilders. In 2019, an agent who
was eating a plate of chicken nuggets and french fries became furious when
a colleague helped himself to part of the meal. The first agent picked up the
poacher and threw him into a door so hard it came off its hinges, according
to sources who heard the ensuing crash. Renee Zinsky, the agent who filed
the harassment and assault lawsuit last April, said she saw a video of the
altercation because her direct supervisor, Michael Russin, got a copy and
called his team in to watch it. "He showed everyone, saying how hilarious it
was," she recalled.

Though Arias declined to speak with Insider, there are signs that he was
frustrated by the behavior. A former agent recalls him chewing out an agent
who slugged a colleague during a 2019 trip to New York on a private jet.

In response to detailed questions from Insider, Globe's executive vice
president and chief marketing officer, Jennifer Haworth, said by email that
AIL "takes seriously any allegation brought to its attention concerning
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sexual harassment, inappropriate conduct, or unethical business practices"
and "makes clear that it does not tolerate" such behavior. Agents or others
"are subject to contract termination if they engage in misconduct," she said.

She said she was responding on behalf of AIL, not Globe. Asked whether
Globe declined to comment, she didn't respond.

A magnet for misconduct

There are scant constraints on the unreconstructed '80s culture at Arias.
AIL's policy of requiring agents to work as independent contractors means
Arias agents lack the federal workplace protections that employees enjoy —
a system that could allow a culture of abuse to go unchecked. And the light
touch of most insurance regulators makes it easier for bad actors to dodge
responsibility and exposure.

"I don't think it would ever get to this in a place where there are W2
employees," one former agent said.
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A class action suit filed July 22, 2022, cites evidence that Arias treats all of its agents as independent
contractors, not employees. U.S. District Court for the Western District of Pennsylvania


Unlike with stock brokers or other licensed securities-industry
professionals, there is no national database where consumers can look up
an agent's track record, from customer complaints to criminal histories.
That's because stock brokers are regulated by the federal government,
which requires extensive disclosures. Insurance is regulated only by the
states, most of which require minimal disclosures from life insurance
agents.

The industry has access to national data on agents' criminal records,
regulatory violations, and terminations by means of the National Insurance
Producer Registry. But when I sent a query asking how consumers could
access this information, they quickly set me straight. "This information is
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not available to the public," Mike Turpin, a manager of customer
experience, said in an email.

The public state databases, on the other hand, appear incomplete. Insider
checked state licensing databases for current or former Arias agents who
had been cited in an action by a state insurance regulator or had a criminal
conviction. None of the databases surfaced these histories.

"Insurance producers face little risk of prominent public disclosure for their
conduct," said Colleen Honigsberg, a law professor at Stanford University
who coauthored a 2022 study of regulatory failures in the insurance
industry. "We talked to securities regulators who said they make referrals
all the time to insurance regulators and they go nowhere."

It's not hard to get a license to sell life insurance. In Pennsylvania, where
Arias is headquartered, you just have to be 18, finish 24 hours of classes,
and score 70% on a multiple-choice exam. If you flunk, you can take the test
again — and again. Rob Jackson, the regional director in Chicago, took eight
tries to pass it.

Past criminal convictions are reviewed "on a case-by-case basis,"
Pennsylvania Insurance Department spokesperson Lindsay Bracale said.
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A complaint about AIL sent to the Better Business Bureau on October 13, 2022, claims that the
company continued to charge premiums after the customers repeatedly attempted to cancel their policy.
AIL ultimately issued a refund. Better Business Bureau


The light regulation makes the industry a magnet for rogue operators. The
2022 study found that Wall Street financial advisors with the worst histories
of misconduct often switched to selling insurance after they got in trouble.

Even in the absence of a national database, Insider was able to examine
compilations of consumer complaints that suggest an aggressive, even
abusive, sales culture surrounding Globe and AIL. Globe had nearly six
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times as many complaints filed with state regulators in 2021 on its life
insurance products — Arias' specialty — as the average insurance company,
according to the NAIC.

Websites that publish consumer complaints also include pages
of missives from angry AIL customers, many of whom complain that their
cancellation requests were ignored. "I am currently attempting to get a
refund for the unauthorized charges that American Income Life took from
my account and will file a small claims suit against them if I am unable to
get a full refund," a customer wrote to the Better Business Bureau on
October 13, 2022. AIL ultimately refunded erroneous charges dating back
more than a year. The BBB gave AIL an A+ rating. Yet the company had so
many customer complaints, the bureau published only 25% of them.

The pressure to push products on customers who couldn't afford them was
heart-wrenching to one agent, who told Insider her supervisor urged her to
sell a policy to a woman "in the middle of nowhere in Pennsylvania" who
could barely afford to pay her phone bill. "I was losing my soul," she said.

Just as Arias customers are failed by thin regulation, Arias agents enjoy few
legal protections. AIL won't hire agents unless they sign a contract that
classifies them as independent contractors — leaving them with few
safeguards against workplace discrimination.

As of 2003, AIL offered sexual harassment training only to employees, not
to its 2,300 agents, according to a summary judgment in an earlier sexual
harassment lawsuit. Haworth did not respond when Insider asked whether
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AIL agents today get such training; several agents who worked at Arias
recently said they did not receive it.

A group of Arias agents are plaintiffs in a class-action lawsuit filed in federal
court in Pittsburgh last July. The complaint alleges that Arias and AIL
misclassified their agents as independent contractors. In reality, the agents
argue, they are treated as employees — the company dictates agents' hours,
their dress, and where they work. The two sides have agreed to arbitration.

Unless the agents prevail, they are without federal protections, and there is
little they can do if their bosses illegally harass or abuse them.

'Misogynistic, hostile, unethical'

Renee Zinsky was making about $20,000 a year delivering pizzas when she
got a call from a high school acquaintance who pitched her on "this amazing
job" where she could make great money. She interviewed at Arias
headquarters at age 24 and was "beyond excited," she said. When an
interviewer told her she'd make so much money she'd be able to retire in 10
years, she was hooked.

Zinsky started at Arias in March 2019, at the Wexford headquarters. Three
years later, she filed suit. Her federal complaint against AIL, Arias Agencies,
Simon Arias, and her boss Michael Russin and his companies Russin
Financial and Russin Group details shocking allegations that included
sexual assaults, drug use, and physical violence.

Zinsky signed a mandatory arbitration agreement with AIL and Arias
Agencies, barring her from filing a lawsuit. She believed a federal law
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passed in early 2022 would allow her lawsuit to move forward anyway, but a
federal judge thought differently, ruling in July that her allegations against
Arias and AIL would move to arbitration instead. In Zinsky's complaint,
filed in September with the American Arbitration Association and obtained
by Insider, and in her original lawsuit, she alleges that AIL and Arias
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Only the case against Russin, who was not named in the arbitration
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In an amended legal complaint filed November 1, 2022, Renee Zinsky alleges that her supervisor at
Arias, Mike Russin, made comments about his erections to colleagues and forced Zinsky to watch him
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Pennsylvania


Russin is a former big star at the agency, who bragged in a recent Arias
recruiting video that he'd opened Arias offices in multiple states. He
admitted in his answer to the complaint that he had used alcohol and drugs
during work hours and work events but denied that his drug use was
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frequent. He denied Zinsky's allegations of bullying, sexual harassment, and
sexual assault.

His Pittsburgh lawyer, Benjamin Webb, said in an email that Russin would
not respond to detailed questions from Insider due to the pending litigation.
"However, he takes the claims asserted by Ms. Zinsky seriously," Webb
wrote, "and we are in the position to zealously defend our client's position
and bring to light additional facts regarding the plaintiff's allegations via the
appropriate legal process."

Jackson, the agency director in Chicago, said he knew and liked Zinsky
when they both were working as agents in the Wexford office and that
Zinsky didn't deserve "what she dealt with."

"I had no idea that was going on," he said. "I don't think anybody really
did."

A promotion if you 'blow me'

Over the din of Muzak and the banter of families foraging for back-to-school
supplies at a mall near Pittsburgh in August, Zinsky is doing her best to tell
her harrowing tale. Taped to the wall in the back office of the gift shop
where she now works are two photos of her former boss, Russin: "If you see
this man" in the store, a note reads, "please call Mall Security and ask him
to leave."
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A Snapchat message Renee Zinsky's supervisor, Mike Russin, allegedly sent her of himself naked with
an erection, soon after she started there in 2019. In a filing, Russin denied he sent the message. Insider
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She greets me with a broad smile and bright brown eyes, projecting her
upbeat, glass-half-full personality — all the qualities that made her a star
agent at Arias. She savors her relationships with her old insurance
customers and reaches for her phone to share a photo where she's posing
with two of her favorites, a husband and wife, in front of their home. "I
became friends with all my clients," she said. Many of them still stay in
touch.

She got her insurance license in early 2019 and was so gung ho about the
job that she initially dismissed the wild reports she heard from her trainer, a
female agent who told Zinsky women were expected to sleep with their male
bosses. Those warnings became real shortly after Zinsky first reported to
work. Relaxing at home one day, she clicked on a Snapchat message that
she says had just come in from Russin, her direct supervisor.

She glanced at her phone in shock. It was a photo Russin had taken of
himself naked, with an erection, she says. She told several colleagues about
the photo, but most encouraged her to "just let it go," she says. She came
away with the understanding that if she spoke up, she'd lose her job.

Zinsky tells me that after she asked Russin for a promotion, she received
another lewd Snapchat message from him, this one saying she'd get
promoted only if she and her fiancé, now her wife, would "blow me at the
same time."

Zinsky described both messages in her federal complaint; in court filings in
August and November, Russin denied sending them.
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She recounts a time when she says he got her alone in a room, pressed her
against a wall, and tried to stick his tongue down her throat. She tells me
about two occasions when she believes she was fed a date rape drug, in one
case waking up in a hotel room at a company event in Cranberry,
Pennsylvania, in a panic, only to see three colleagues — a woman and two
men — having a threesome. "I was so scared," she says. "I said, 'I can't feel
my legs.'"
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Russin allegedly sent another Snapchat message to Zinsky in 2019 in which
he said the only way she'd get a promotion is if she and her girlfriend would
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"blow me at the same time." In a filing, Russin denied he sent the
message. Insider

Her civil complaint accuses Russin and other Arias leaders of administering
these drugs to her and other women; in a court filing, he has denied that
claim.

But when she starts to tell me about the first time she says Russin
masturbated in front of her in his car, her jaw clenches. She pauses, staring
off into the distance.

Zinsky, then 25, had only recently signed on as an agent when, she says,
Russin suggested they take a ride in his Maserati for a "one-on-one"
business chat. She hoped a break from the clamor of the office would be her
chance to pitch for the promotion. She says Russin had other ideas.

He drove to a quiet parking lot where, Zinsky says, the outing took an
appalling turn. "He grabbed my arm very forcefully and put my hand on his
crotch," Zinsky tells me. She says she pulled her hand away and reminded
her boss that she was in a serious relationship. Undeterred, she says, Russin
picked up his phone, pulled up a porn video, and masturbated in the
driver's seat. "When he was done," she says, tearing up, "he made me reach
in the back and find something that he could wipe his — you know."

I ask if there were other times he suggested "one on ones" and wound up
sexually assaulting her. There was another encounter in the car, she says,
when Russin "literally took the back of my head and shoved my face down
into his crotch."
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Zinsky's federal complaint said the abuse in the car, which Russin denied in
a legal filing, happened "on multiple occasions." She tells me that in the
nearly 2 ½ years she worked at Arias Agencies, variations on the soul-
killing routine in Russin's car occurred at least eight times. The invites to
"take a drive" also targeted "other female subordinates," according to the
complaint. They were so common for Zinsky and one female coworker that
the two of them used to take turns, tapping in for the abuse when the other
one just couldn't face it, Zinsky said.


"There were days he would badger them all day long to take a drive," a male
colleague told Insider. "They would show me the Snapchat messages."
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In the amended legal complaint filed November 1, 2022, Zinsky alleges that
Russin and other Arias leaders would administer date rape drugs to female
subordinates without their consent. Russin has denied the allegation. U.S.
District Court for the Western District of Pennsylvania

Another of Zinsky's colleagues described her opening up to him over time
about several of these incidents. "She was very distraught," he recalls. "She
broke down and lost it and told me. We talked almost every day about it."

With her boss, she says, she dealt with these episodes gingerly because she
feared losing her job. Zinsky was earning $109,000 at Arias by 2020, five
times what she'd made at the pizzeria.
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Goddamnit, I'm a fucking psycho and anybody with half a fucking brain
could see that.

In Russin, Zinsky had a manager who openly acknowledged his volatility.
During one meeting that was audiorecorded, Russin can be heard telling his
team, "I'm a fucking psycho and anybody with half a fucking brain could see
that."

Whenever Russin tried to engage with Zinsky sexually, she'd try to find a
way out of the situation, she says, "but I also would try and make sure he
wasn't offended or pissed."

"He controlled everything," she says. "He controlled me having a job."

Complaints appeared to go nowhere

Zinsky and other women who were harassed at Arias had to consider
whether lodging a complaint would make any difference.

In a May 25 charge filed with the EEOC, the former Arias agent who said
she was sexually assaulted at the pool wrote that she had informed three of
her managers at Arias — a general agent, a supervising agent, and a master
general agent — of the incident. "Nothing was done to investigate or address
my concerns," she wrote.

Amy Williamson, the Pittsburgh attorney who represents this woman and
the plaintiffs in the class-action lawsuit against Arias, as well as Zinsky,
shared the document with me on the condition that Insider not use her
client's name. The EEOC decided not to pursue the case and Williamson is
preparing to file a complaint on the woman's behalf.
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Zinsky, too, tried to alert managers about Russin's sexual harassment. In
June 2021 she found a contact for Arias sexual harassment complaints, but
the email bounced back. It turns out the contact was Simon Arias' mother,
who didn't even work at the agency.

Zinsky then arranged a meeting with Arias on August 11. She says she
described the ongoing harassment and assaults and showed him the two
Snapchat messages from Russin — the one of Russin's erection, and the one
that said she'd have to perform oral sex to get a promotion. Arias said she
could report directly to him instead of Russin. Wanting to take the
complaint further, she asked Arias for a human-resources contact, but he
told her the agency didn't have HR personnel, she said.

The gravity of the matter didn't seem to register with Arias, who, according
to Zinsky, admonished her not to hire a lawyer because it would make him
"look bad." Two weeks after the meeting, Zinsky got an email from Arias'
assistant asking her to sign an "incident report" referencing "inappropriate
language / Sexual content in the workplace" and indicating that Zinsky's
complaint had been "satisfied." The document, which she refused to sign,
said there would be a follow-up in 30 days, but Zinsky said none was
forthcoming.

Frustrated with the response, Zinsky tracked down an HR official at AIL
and contacted her on November 10, 2021. This time, people sprang into
action.

The HR official, Debbie Gamble, escalated the matter to Globe Life's
assistant general counsel, Logan P. Blackmore. Insider obtained an email
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Blackmore sent to Zinsky on November 17, informing her that she would be
hearing from an investigator who would look into her claims.

According to one of Zinsky's legal filings, AIL completed its investigation
last February and substantiated the claims of harassment. AIL did not
respond to Insider about this matter.




AIL frequently held up Simon Arias and his agency as star producers. Here,
Arias Agencies celebrates in April 2019 when Simon Arias was featured on
the cover of the company magazine. Facebook
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During this time, AIL and Arias Agencies continued to publicly extol Russin
and his work. The agency congratulated him on social media in November
2021 for being featured as a top leader in AIL's magazine, Spotlight. In a
Thanksgiving message posted to Facebook on November 24, Arias Agencies
recognized Russin and his brother Jeremiah as "Star siblings in Arias!"

Haworth, the Globe spokesperson, said in a statement that AIL doesn't
comment on pending litigation. But she said sales agents "have multiple
ways" to raise concerns, "including with the State General Agent with whom
the agent is affiliated, with a union representative if the sales agent is a
union member, with AIL's agency department, or via an independent third-
party reporting service." She said AIL has processes in place "to review,
investigate, and address allegations it is aware of."

Williamson told Insider she has spoken with dozens of current and former
Arias agents, 25 of whom have become clients in complaints against the
company. None had heard of policies or protocols on how to report
concerns, she said. Many were loath to report concerns internally because
they worried they'd face retaliation if they did, she said.

It's notable that Haworth said state general agents could be approached
with concerns, since Zinsky received no indication that her state general
agent, Simon Arias, escalated her complaint. It was only after she went
directly to AIL months later that Globe got in touch.

Inaction at the top
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AIL fired Russin last February, according to Zinsky's amended complaint.
But it was too late.

Zinsky by then was crippled by anxiety. Unable to continue showing up to
work at Arias, she was facing down the prospect of substantial income loss
as she looked for new work with only a high school diploma. Russin had
taken to posting bizarre and threatening messages — addressed to no one in
particular — on his social-media accounts. In one, he said that if anyone
interfered with his ability to care for the child he and his wife were
expecting, he'd "peel the skin off their face" and feed their eyes to his dog,
though he denied in a court filing that it was a reference to Zinsky. In a
Facebook post, he said he'd be "chewing the whores up in court," which
Williamson read as a reference to her and Zinsky.

If you're gonna try to take food out of my child's mouth I will come to you,
physically, and I will peel the skin off your face.

As the posts escalated, Williamson said, Zinsky "was a wreck."

According to Williamson, at a September 1 telephonic court hearing, Judge
Marilyn J. Horan instructed Russin's lawyer to get his client under control.
Horan said she was appalled by Russin's conduct and suggested the lawyer
tell Russin he was making Zinsky's case for her. Two days later, Russin
posted a photo of himself on Instagram, bare-chested, muscles bulging,
cigar smoke swirling around his face, with the caption "War Ready."

That post, too, he denied was related to Zinsky.

Williamson soon came across evidence that Russin had been fired in name
only. In an amended complaint, filed November 1, 2022, Zinsky alleged that
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Russin "continues to participate in meetings, internal communications, and
other work events both in person and virtually" for Arias Agencies. Webb,
Russin's lawyer, declined to comment on these claims. Haworth, the Globe
Life spokesperson, did not respond to a query about Russin's current
status.

Several agents said it was hard to imagine that management at Globe and
AIL were unaware of the toxicity at the Arias workplace.

Two sources told Insider that eight years ago, a lengthy unsigned email was
sent to AIL's leadership team, from the CEO down to the head of HR,
detailing allegations of misbehavior at Arias headquarters. The email also
went to senior Arias leaders. "It explained all the crazy shit going on," said
one of the sources, who was on the email chain. The anonymous writer
alleged excessive drug use on the job by two senior men at Arias and sexual
improprieties by one of them.

A recent check of the Pennsylvania insurance website showed that both men
were still licensed with AIL. Haworth did not respond to questions about
the email.
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Three months after AIL launched an investigation into Renee Zinsky's
allegations of sexual assault at Arias Agencies, co-CEO Larry Hutchison
honored Simon Arias with Globe Life's Legacy Award. One agent compared
it to receiving an Oscar. Linkedin

Much of the abusive behavior at Arias — the hazing humiliations, the
physical brawls — played out in the open, in front of witnesses. A former
agent told Insider that when she was in training in 2016, her supervisor
called her into a glass-enclosed room and asked her to recite her lengthy
sales script from memory. When she forgot some lines, she said, he grabbed
her by the shoulders and slammed things around in the room. "He picked
me right up and sat me on a table and said, 'How come you don't fucking
know the script?'" she recalled. She said the scene played out in full view of
agents just outside.

There were podcasts where agents talked about stealing cars, dealing drugs,
and building bombs in a garage. There was a company gathering in Las
Vegas in 2019 where, one former agent told Insider, agents did drugs and
had sex with one another in a hotel suite as AIL's most senior executives —
Greer, the CEO, and the firm's president, David Zophin — partied with the
sales force nearby. Agents in the Wexford office would suggest to colleagues
that they step outside to "do a bump" of cocaine in the parking lot.

And there were the efforts by Zinsky and the other woman to alert upper
management to incidents of sexual harassment and sexual assault.

Still, last February, months after Zinsky escalated her complaint to Globe
Life, an audience of agents rose to their feet to applaud Simon Arias at a
swanky corporate event in Dallas. There, beneath the glittering crystal
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chandeliers of the Adolphus Hotel, Arias and his wife joined Larry
Hutchison, then Globe's co-CEO, onstage to receive Globe's coveted "Legacy
Award," which recognizes agency owners for sales production, grooming
new leaders, and giving back to the community.

"It is like winning the Academy Award from Globe Life," a former Arias
agent said. "It brings respect from everybody."




If you are a survivor of sexual assault, you can call the National Sexual Assault Hotline (1-

800-656-4673) or visit its website to receive confidential support.
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   EXHIBIT “C”
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 NAME

 482808_arias022423_H6_main.mp3


 DATE

 February 27, 2023

 DURATION

 4h 39m 48s

....


 [00:41:46] Ms. Williamson
 There's. You may have answered this before, and that's fine if so. But to be clear, during the whether it's the
 training process or the or the onboarding process or the agents provided with the collective bargaining
 agreement. At some point.

 [00:42:09] The Witness
 I would have to check with. Staff are pretty confident that they are, but I would have to check.

 [00:42:18] Ms. Novak
 With.

 [00:42:19] The Witness
 My go to person to check with that. Usually I would ask Natalie.

 [00:42:25] Ms. Williamson
 And now I ask you to do that. Not now, but I'll.

 [00:42:28] Ms. Novak
 Follow up with your counsel later for that.

 [00:42:32] Ms. Williamson
 And how about other? Policies. Is there a point in that process where the agents are provided with policies or
 guidelines?

 [00:42:44] Ms. Novak
 Objection. I'm going to have a continuing objection. Limited to. And Mike question because that's why we're here
 today so limited to Sandusky and Mike Ross. Do you know.

 [00:42:58] The Witness
 Can you can you clarify?
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[00:42:59] Ms. Novak
Sure.

[00:43:03] Ms. Williamson
Well, maybe I'll.

[00:43:05]
Get a document.

[00:43:15] Ms. Williamson
Are you familiar with any policies that I corporate policies for mail.

[00:43:22] The Witness
They get emailed out if I see some policies, they email them out to us, we email them out to others,
sometimes certain policies. Again, I would check with I would ask Natalie.

[00:43:33] Ms. Williamson
Oc are those emailed out to new agents or are they e mailed out on a regular basis?

[00:43:41] The Witness
I would want to ask Natalie.

[00:43:54] Ms. Williamson
Do you know what policies that would entail? I don't. Okay. Are those policies posted anywhere?

[00:44:04] The Witness
I'm not sure.

[00:44:10] Ms. Williamson
So that was with regard to. How about with regard to and I asked you before about the union, how about with
regard to areas, agencies, does various agencies have specific policies?

[00:44:20] The Witness
I would check with Natalie. I'm not sure.

[00:45:17] Ms. Novak
There's a couple of pages there. I'd like to see that before.

[00:45:20]
You talk about.

[00:45:26] Ms. Novak
These are not documents that we provided. I'd like a copy. Right now. You could have. You could have. You
could have those. You're going to show it to him. And I assume you're going to attach it to the deposition,
Correct? Yeah. So copies for the other attorneys at the deposition.

[00:45:48] Ms. Williamson
We have we have copies, but we can make copies right now if you want.

[00:45:52] Ms. Novak
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You were supposed to have those at your deposition. I mean, you're. You're taking the deposition. Yeah.
These are not documents that were provided in response to the subpoena. So you're presenting my client with
something. You're not giving me a copy of


[00:46:15] Ms. Williamson
You can have a copy right now. Here, take this. I don't understand what the big issue is.

[00:46:23] Ms. Novak
Do we have enough copies for four for everybody here, or do we need to get some?

[00:46:27] Ms. Williamson
We can make more copies. I mean, they.

[00:46:29] Ms. Novak
Have them already.

[00:46:35] Ms. Williamson
No copies?

[00:46:37] Ms. Novak
No. You are supposed to have copies for council. That's what one does in a deposition.

[00:46:43] Ms. Williamson
I understand.

[00:46:45] Ms. Novak
We are not a party to this. Which means we've not seen this prior to today. I understand.

[00:46:55] Ms. Williamson
But that doesn't make it. I mean, it doesn't mean it's not part of the questions you have. I mean, I have a lot of
things that aren't part of your production that.

[00:47:09] Ms. Novak
We're going to ask them about. Right. But you should have copies for everyone at the deposition. That's 101.
Come on.

[00:47:21] Ms. Williamson
You can have the copy. I'm not sure.

[00:47:25] Ms. Novak
Just ask the question.

[00:47:28] Ms. Williamson
I was prepared to ask the question before. I'll give you a minute to take a look at it. There's a couple of pages
there, so take your time and.

[00:47:35] Ms. Novak
Just let me know whenever.

[00:48:21] Ms. Williamson
Does that look familiar to you?
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[00:48:25] The Witness
I don't. Handle managing this.

[00:48:28] Ms. Williamson
Sure. Are you familiar with. There's a website address at the top. I believe it says Aarhus University. Does that
sound familiar to you?

[00:48:39] The Witness
Have that? Yeah. Had it or have it. I know it was up. I haven't been on there myself, possibly. Ever. There's
definitely a minute personally, myself with other people to manage that.

[00:48:57] Ms. Williamson
Gotcha. What's your understanding of areas? University? What is areas? University?

[00:49:04] The Witness
To my understanding, a place that agents can go and look up. Things to help them in their business.

[00:49:16] Ms. Williamson
And was that I'm going to use the word tool. Is that a fair term, a tool that was available to agents in the 2019,
2020 timeframe?

[00:49:30] The Witness
I believe so.

[00:49:37] Ms. Williamson
And it appears as though there were policies posted there at one time. Does that sound right to you?

[00:49:46] The Witness
If I'm looking at the right thing, it looks like it.

[00:49:49] Ms. Williamson
Do you have any knowledge outside of that document whether or not policies were posted there?

[00:49:54] The Witness
I would have to ask it or some someone on our staff.

[00:50:03] Ms. Williamson
Who's your i.t.

[00:50:05] Ms. Novak
Point of contact.

[00:50:05] The Witness
I would have to check.

[00:50:07] Ms. Novak
That's irrelevant to your case. You can't answer the question. It's not a relevance issue. Actually, it is. It has
nothing to do with Mr. Minsky or Mr. Russell to answer.

[00:50:22] The Witness
So we could skip that.
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[00:50:23] Ms. Williamson
Okay. So areas. University was a resource for agents in the 2019 2020 time frame.

[00:50:33] The Witness
I would have to check. I'm not.

[00:50:35] Ms. Williamson
100% sure.

[00:50:38] The Witness
No belief.

[00:50:41] Ms. Williamson
Do you know whether the policies on the pages that are in front of you were active at that time?

[00:50:49] The Witness
I'm not sure. I'm just looking at what you gave me. So going by that, this looks like that's what was on there.
I'm not. I'm not. I don't. Go on there.

[00:51:01] Ms. Williamson
Okay. So not only did Achilles manage areas university and content, not directly.

[00:51:13] Ms. Novak
She would.

[00:51:14] The Witness
I would ask her who would if.

[00:51:17] Ms. Williamson
She would know?

[00:51:19] The Witness
I would assume.

[00:51:30] Ms. Williamson
Do you know who drafted the policies on those documents? I don't. I don't recall. And I believe there's. The
drug and alcohol policy on there on the last two pages. Does that look familiar to you? Just those.

[00:51:53] The Witness
Just looking at it right.

[00:51:54] Ms. Novak
Here. Yeah.

[00:51:57] Ms. Williamson
Have you had experience enforcing that policy?

[00:52:04] The Witness
Can you clarify?

[00:52:05] Ms. Williamson
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Sure. Have you had any experiences where you've had somebody violate that policy?

[00:52:13] The Witness
I don't recall.
